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     EDWARD KIM, State Bar No. 195729
 3   Supervising Deputy Attorneys General
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 8   Attorneys for Defendants

 9
                            IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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     LETRINH HOANG, D.O., PHYSICIANS                       2:22-cv-02147
14   FOR INFORMED CONSENT, a not-for
     profit organization, and CHILDREN’S
15   HEALTH DEFENSE, CALIFORNIA
     CHAPTER, a California Nonprofit                       NOTICE OF APPEARANCE OF
16   Corporation,                                          COUNSEL MEGAN R. O’CARROLL
17                                       Plaintiffs,
18                 v.
19
     ROB BONTA, in his official capacity as
20   Attorney General of California, and ERIKA
     CALDERON, in her official capacity as
21   Executive Officer of the Osteopathic
     Medical Board of California (“OMBC”),
22
                                       Defendants.
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          TO THE COURT AND ALL PARTIES:
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          Please take notice that Megan R. O’Carroll, of the California Attorney General’s Office
27

28   hereby enters an appearance on behalf of Defendants in the above entitled action. Other members
                                                       1
                                                               Notice of Appearance of Counsel (2:22-cv-02147)
     Case 2:22-cv-02147-WBS-AC Document 26 Filed 01/20/23 Page 2 of 3


 1   of the California Attorney General’s Office have already entered an appearance, and Deputy
 2   Attorney General Kristin Liska remains the primary attorney of record designated for service in
 3
     this matter.
 4

 5   Dated: January 20, 2023                             Respectfully submitted,

 6                                                       ROB BONTA
                                                         Attorney General of California
 7                                                       EDWARD K. KIM
                                                         Supervising Deputy Attorney General
 8

 9

10                                                       MEGAN R. O'CARROLL
                                                         Deputy Attorney General
11                                                       Attorneys for Defendant
                                                         Osteopathic Medical Board of California
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     LA2022604122
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                                                            Notice of Appearance of Counsel (2:22-cv-02147)
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                                 CERTIFICATE OF SERVICE
Case Name:        Hoang, et al. v. Bonta                  Case   2:22-cv-02147
                                                          No.

I hereby certify that on January 20, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
NOTICE OF APPEARANCE OF COUNSEL MEGAN O'CARROLL
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on January
20, 2023, at Los Angeles, California.


                Diana Montufar
                   Declarant                                         Signature

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